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         ORDERED in the Southern District of Florida on August 8, 2023.



                                                        Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court




                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                       Fort Lauderdale Division
                                         www.flsb.uscourts.gov

         In re:
                                                                 Case No. 23-14169-SMG
         Retailing Enterprises, LLC                              Chapter 11
         d/b/a Invicta,
                         Debtor.
         ______________________________/

                      ORDER GRANTING MOTION TO APPROVE AGREEMENT
                  BETWEEN DEBTOR AND ARCH SPECIALTY INSURANCE COMPANY

                  THIS MATTER came before the Court without a hearing on the Motion [ECF 167]

         (the “Motion”) of Retailing Enterprises, LLC, d/b/a Invicta, as Debtor and Debtor-in-

         possession in the above captioned Chapter 11 Case (the “Debtor”), for entry of an Order

         pursuant to Fed. R. Bankr. P. 9019 and Local Rules 9019-1 and 9013-1(D) approving a

         settlement and compromise between Debtor and Arch Specialty Insurance Company

         (Collectively, the “Parties”) pursuant to the terms of, and as set forth in, the Settlement

         Agreement executed by the Parties (the “Agreement”), which is attached to the Motion. The
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Debtor, by submitting this form of order, has represented that the Motion was served on all

parties required by Local Rule 9013-1(D), that the 21-day response time provided by such

Local Rule has expired, that no creditor or party in interest has filed or served a response to

the Motion, and that the form of this order was attached as an exhibit to the Motion. The

Court, having reviewed the Motion and the record in this case, and otherwise being fully

advised in the premises, finds that the relief requested in Motion is reasonable and in the

best interests of the Debtor, the Debtor’s bankruptcy estate, and all creditors and parties in

interest in the Chapter 11 case, and further finds that good cause exists to approve the

Agreement and grant the relief requested in the Motion. Accordingly, the Court:

       ORDERED:

       1.       The Motion is GRANTED in all respects.

       2.       The Debtor has the authority to enter into the Premium Finance Agreement

with Arch Specialty Insurance Company.

       3.       The Debtor is authorized and directed to execute and deliver any and all

documents and take any and all actions required by or necessary to implement the terms of

the Agreement.

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Submitted by:

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Attorney Wernick is directed to serve a copy of this order on all parties in interest and file an
appropriate certificate of service.



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